Action commenced by the issuance of an alternative writ of mandamus to the city clerk of Ashland on the petition of William A. Saunders on May 16, 1942.  From a judgment quashing this writ, the petitioner appeals.
The facts as to the divorce are the same as in Saunders v.Saunders, ante, p. 94, 9 N.W.2d 629.  Petitioner was entitled to the payment of a certain monthly pension.  Defendant refused to pay the pension because the petitioner had left the state and gone to California and was not supporting his wife and minor child.  The wife and child were on the relief rolls of the city of Ashland.  The trial court quashed the alternative writ of mandamus requiring the defendant to pay the pension money to the petitioner.  Petitioner appeals.
No authority has been cited and we are unable to discover any allowing the city clerk to withhold the pension money on his own initiative, even though he is thus *Page 97 
attempting to pay a debt of the pensioner.  Until he is presented with a judgment constituting a valid claim under sec. 304.21, Stats., he has no alternative but to pay the money due to the appellant.  It was, therefore, error to quash the alternative writ of mandamus.
By the Court. — Judgment reversed.